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                   UNITED STATES DISTRICT COURT FOR THE
                      NORTHER DISTRICT OF MARYLAND

PATRICIA ROTHLEITNER                         *
10304 Princeton Circle
Ellicott City, Maryland 21042                *

and                                          *

MARK ROTHLEITNER                             *      Civil Action No.
10304 Princeton Circle
Ellicott City, Maryland 21042                *

               Plaintiffs
v.                                           *

NORDSTROM, INC.                              *
1501 Fifth Avenue
Seattle, Washington 20815                    *

       SERVE ON:                             *
       Corporate Creations Network, Inc.
       2 Wisconsin Circle, Suite 700         *
       Chevy Chase, Maryland 20815
                                             *
       Defendant
                                             *

             ***************************************************
                      COMPLAINT AND ELECTION FOR JURY TRIAL

       Now comes the Plaintiffs, Patricia Rothleitner and Mark Rothleitner, by and

through their attorneys, Ellen B. Flynn, and Flynn Law Group, LLC, and sue the

Defendant Nordstrom, Inc., and in support thereof states as follows:


                                   JURISDICTION




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       1.      Jurisdiction is proper based on diversity, pursuant to 28 USC §1332(a),

because all parties are from different states and the amount in controversy is in excess of

$75,000.00 exclusive of costs and attorneys’ fees.

       2.      The Plaintiff, Patricia Rothleitner, is an adult citizen of Maryland, residing

at 10304 Princeton Circle, Ellicott City, Maryland.

       3.      The Plaintiff, Mark Rothleitner, is an adult citizen of Maryland residing at

10304 Princeton Circle, Ellicott City, Maryland. At all times relevant hereto, Patricia and

Mark Rothleitner were husband and wife.

       4.      The Defendant, Nordstrom, Inc. is a foreign corporation organized and

existing under the laws of the State of Washington, with its principal place of business

and corporate headquarters at 1501Fifth Avenue, Seattle, Washington 98101, and doing

business in the State of Maryland, and is in the business of selling retail merchandise and

providing restaurant service in the Nordstrom Café to the public.

                            FACTS COMMON TO ALL COUNTS

       5.      The Plaintiffs incorporates repeats, reallege, adopt and incorporate by

reference paragraphs 1 through 4 of this Complaint as though fully set forth herein.

       6.      On or about March 16, 2018, Plaintiff Patricia Rothleitner, was a business

invitee at the Nordstrom Café located in the Nordstrom at the Towson Town Center, 825

Dulaney Valley Road, Towson, Maryland 21204.

       7.      Defendant Nordstrom Inc. owns and operates the Nordstrom and

Nordstrom Café at the Towson Town Center.

       8.      Ms. Rothleitner was a customer of the Nordstrom Café sitting at a table by

herself with her back facing the aisle where servers and customers walked.

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       9.      Unbeknownst to Ms. Rothleitner, a Nordstrom Café server employee was

holding a large tray stacked with dishes behind her as he recklessly joked and flirted with

some other customers at an adjacent table, causing him to lose control of the tray and

smashing it and a stack of dishes into the back of Ms. Rothleitner’s head.

       10.     Ms. Rothleitner felt like she had been hit in the head with a sledge

hammer, was dazed and confused by the blow to her head, and cried while she waited for

paramedics.

       11.     After approximately 30 minutes of holding ice packs to her head, Ms.

Rothleitner incorrectly believed she was going to be OK, and decided to go home.

       12.     On her way out of the Nordstrom Café, Ms. Rothleitner was told by other

patrons that the Nordstrom Café server had been flirting and goofing around while

holding the large tray of dishes behind her.

       13.     On the way out of the Nordstrom store, she felt dizzy, and lost her balance

causing a vase to fall and break.

                                        COUNT I
                                     (NEGLIGENCE)

       14.     The Defendant, Nordstrom Inc, by and through its agents, servants and

employees, owed a duty to the Plaintiff to exercise that degree of care, skill and judgment

ordinarily expected in a service restaurant, to safely and carefully perform their duties to

transport dishes and heavy trays while serving in the restaurant, and to perform adequate

and appropriate training and supervision of employees performing these duties.

       15.     The Defendant breached its duty in that it and its employees failed to

properly supervise, train, and perform their duties, failed to ensure that plates were


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removed and dispensed in a safe and stable manner that did not jeopardize the safety of

business invitees, failed to adequately staff, train and supervise its employees on the

importance of safely removing trays of plates, and was otherwise negligent.

        16.     As a direct and proximate result of the Defendant’s negligence, which was

caused solely by the Defendant and its agents and employees, a tray full of heavy plates

fell into the back of Plaintiff’s head, causing her to sustain serious and permanent

physical injuries, including but not limited to traumatic brain injury, causing her to suffer

great physical and mental anguish, medical expenses, lost wages and other expenses

incidental to the damage arising out of this occurrence.

        17.     Plaintiff further alleges that all of these injuries and damages were caused

by the negligent acts and omissions of the Defendant, without any negligence or want of

due care on the part of the Plaintiff thereunto contributing.

        WHEREFORE, the Plaintiff demands judgment against Defendant Nordstrom

Inc. in the amount of Two Million Dollars ($2,000,000.00).

                                        COUNT II
                                   (Loss of Consortium)

       The Plaintiffs, repeat, reallege, adopt and incorporate by reference paragraphs 1

through 17 of this Complaint as though fully set forth herein, and in this separate and

distinct cause of action, state:

         18.    The Plaintiffs, Patricia and Mark Rothleitner, aver that they are, and were

for all times complained of, husband and wife.

        19.     The Plaintiffs further aver that, as a direct and proximate result of the acts

and omissions of the Defendant, individually and through its real, apparent and/or


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ostensible agents, servants and/or employees, they did suffer and sustain injury, damage

and disturbance to their marital relationship and that they were deprived, each from the

other, of normal and customary services, society, companionship, affection, assistance,

and conjugal relationships, and that the same were thereby interfered with, diminished

and destroyed.

          20.     The Plaintiffs further aver that all of their injuries, damages and losses

complained of, past, present and prospective, were and are due to the negligent acts and

omissions of the Defendant, individually and through their real, apparent and/or

ostensible agents, servants and/or employees, without any negligence on the part of the

Plaintiffs contributing thereto.

          WHEREFORE, this claim is brought by the Plaintiffs, Patricia and Mark

Rothleitner, against the Defendant, Nordstrom, Inc. for loss of consortium in an amount

in excess of $1,000,000, together with costs, attorneys’ fees and such other and further

relief as justice requires.

                                       JURY DEMAND

          Plaintiffs Patricia and Mark Rothleitner respectfully request a trial by jury on all
counts.

                                                 Respectfully Submitted,

                                                _______/s/__________________________
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                                                 Attorney for Plaintiffs

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